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                                    IN THE       UNITED    ST ATES         DISTRICT           COURT
                                 FOR     THE     NORTHERN         DISTRICT            OF GEORGIA



ROME           NEWS       MEDIA,        LLC,


           Plaintiff,


VS.                                                                        CIVIL      ACTION         NO.


GOOGLE,            LLC,       and
FACEBOOK,                INC.,


           Defendants.


                                           COMPLAINT           AND    JURY         DEMAND

                                                       INTRODUCTION


           1.           "[T]he      basis of our governments         being     the opinion         of the people,       the very    first


object    should be to keep that right;              and were it left to me to decide whether                     we should have a


govemment          without        newspapers,      or newspapers      without       a government,          I should    not hesitate         a


moment         to prefer the latter."        Thomas Jefferson,     Letter to Edward Carrington,                 Paris, Jan. 16, 1787,


PrC (DLC),         Published        in PTJ, 11 :48-50.


           2.            The U.S. House Judiciary           Committee,         Subcommittee          on Antitrust,      Commercial,


and Administrative               Law, recently     concluded   its antitrust       investigation     into the digital     advertising


marketwith          a 450-page report entitled "Investigation               of Competition         in Digital     Markets:   Majority


Staff Report        and Recommendations"               ("House     Judiciary       Report")    on October         6, 2020.    See also


Hearing,        Stacking      the Tech: Has Google Harmed            Competition         in OnlineAdvertising?,           U.S. Senate


Judiciary        Committee,         Antitrust,   Competition     Policy,    and Consumer           Rights    Subcommittee          (Sept.


15, 2020).


            3.           As   set forth      in the House      Judiciary     Report,       Defendants'          anticompetitive      and


monopolistic            practices     have had a profound        effect     upon our country's             free and diverse        press,
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particularly      the newspaper           industry.      Since 2006, newspaper                    advertising         revenue,          which     is critical


for funding       high-quality         journalism,        fell by over 50%. Newspaper                         advertising            has declined        from


$49 billion      in 2006 to $16.5 billion               in 2017.        As a result       of these falling            revenues,         the existence         of


the newspaper        industry       is threatened.        Nearly       30,000      newspaper          jobs disappeared-a                  60o/o industry-


wide      decline-from          1990      to 2016,      according        to the Bureau            of Labor          Statistics.       And      almost     20%


of all newspapers          have closed          in the past 15 years,              and "countless            others have become                  shells-or


'ghosts'-of        themselves,"           according       to the recent report                by the University              of North        Carolina.    The


reduction       in revenues        to newspapers          across the country,                 including      Plaintiff,        were directly          caused


by Defendants'           conduct     as set forth        herein       and went        directly     into Google's             coffers:



                                                           Advertising             Revenue
                                                        US Newspapers                 vs. Google

                          S60




                                 2004    2005    2006   2007   2008    2009    2010    2011    2012   2013   2014     2015    2016    2017


                                                ffi Google US Revenue         ffi US Newspaper    Ad Revenue




See David Chavern, Written Statement, Online Platforms and Market Power, Part 1: The Free

and Diverse         Press,      Committee           on the Judiciary               Subcommittee              on Antitrust,            Commercial             and


Administrative           Law,    United     States House           of Representatives                 (June 11, 2019).


                     These         hearings         launched           antitrust        complaints           filed      by      the      Federal         Trade


Commission,          the U.S.       Department           of Justice,          and more           than     40 State Attorneys                  General      (the


"States     Attorneys       General")       against       Google,        LLC,         and Facebook,           Inc.     See U.S.         et al. v. Google
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LLC,     U.S.      District      Court     for the District             of Columbia              (Case 1:20-cv-03010)                  (Doc.     1-1)     (filed


10/20/20)        ("DOJ        v. Google     case");          State of Texas et al. v. Google                   LLC,     U.S. District          Court    for the


EasternDistrictofTexas,ShermanDivision(Case4:20-cv-00957)(Doc.                                                          1)(filedl2/16/20)("AGs


v. Google         CaSe'5):, State of New               York       et al. v. Facebook,             Inc., U.S. District           Court      for the District


of Columbia           (Case 1:20-cv-03589-JEB)                         (Doc.     70) (filed        12/09/20)          ("AGs      v. Facebook            case");


FTC v. Facebook,               Inc., U.S. District            Court     forthe       District     of Columbia          (Case 1:20-cv-03590-JEB)


(Doc.    3) (filed     12/09/20)          ("FTC         v. Facebook          case").


            5.         The allegations                set forth     herein     are taken from             the public    record      in the proceedings


referenced         above.       If     proven         to be true,        and     as alleged          herein,         Google      and       Facebook        have


monopolized           the digital         advertising          market        thereby      strangling         a primary         source       of revenue        for


newspapers         across the country.                 This antitrust        action      is brought        to seek all remedies             afforded      under


law.


                                                                         PARTIES


            6.           Plaintiff      Rome          News     Media,        LLC,      is a Georgia          Limited      Liability        Company         with


its principal       place of business                in Marietta,      Georgia.        The sole member               of Rome News              Media,     LLC,


is Times         Journal,      Inc.,    a Georgia            S corporation.           Rome        News       Media,      LLC,      owns        and operates


newspapers          in Georgia:          the Rome          News       Tribune,        the Polk      Standard         Journal,     the Calhoun           Times,


the Walker         County       Messenger,             and the Catoosa           County          News.


            7.           Plaintiff's       newspapers              are locally          owned,       operated,         and      written.       Rome       News


Media,      LLC,       was      formed          in     2015    for     the     primary          purpose      of publishing            daily     and     weekly


newspapers.          The Plaintiffs          newspapers              provide     an important             function     of reporting         and publishing


news to the citizens             of the communities                  it serves, which           include     Floyd,     Polk,     Gordon,        Walker,      and


Catoosa        Counties        in Georgia.            In some instances,              the Plaintiffs         newspapers           are the major          source

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of     news        for     the     citizens        of   these      Counties,      and      a primary            source     of   community             news      and


commentaty.


              8.            Plaintiff         also digitally          publishes      stories,       articles,    information         and content           on the


internet       and worldwide                  web at the domain               www.NorthwestGANews.com.                           At all times           material


herein,     Plaintiff            sold and/or         attempted        to sell digital      advertisements           on the aforementioned                domain


and competed                with     Google          and Facebook           in the relevant         digital     advertising      markets.


              9.            As a direct            result     of Defendants'            antitrust     violations         described        herein,     and as set


forth     in more detail below,                    newspapers          in Georgia,        including       Plaintiff's      newspapers,          together      with


newspapers               throughout           this      country,      are currently         under       a very      real    threat     to their       existence.


Without        redress,           these newspapers,                and hence the citizens              served by Plaintiff's              newspapers,         may


well    end up in a "news                    desert"      as described        below.


              10.           DefendantGOOGLELLC("Google55),isalimitedliabilitycompanyorganizedand


existing           under      the    laws       of the        State     of Delaware,            and    is headquartered              in    Mountain          View,


California.              Google         is    an     online      advertising       technology            company           providing         internet-related


products,          including         various         online     advertising       technologies,          directly        and through        subsidiaries        and


business           units it owns and controls.                     Google     is owned       by Alphabet           Inc., a publicly         traded     company


incorporated              and existing          under       the laws of the State of Delaware                       and headquartered               in Mountain


View,       California.l


              11.           Defendant              FACEBOOK,              INC.    ("Facebook'5),,             is a Delaware          corporation         with     its


principal          office    or place of business                  situated    in Menlo       Park, California.            At all times relevant             to this




I SeeDOJ v. Google caseat ffi18; AGs v. Google case at ffi21.
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Complaint,           Facebook            has    operated      its      social-networking              service      through        its    website,


www.facebook.com,                and mobile          applications      that connect users with Friends on Facebook.2


                                                     NATURE         OF THIS        ACTION


           12.         Plaintiff,       and other newspapers              across the country,             compete         for revenue       in the


digital    advertisirig         market.        Google    monopolizes          the market        to such extent that it threatens                the


extinction       oflocal     newspapers         across the country.          There is no longer a competitivemarket                      inwhich


newspapers          can fairly       compete        for online      advertising     revenue.        Google       has vertically         integrated


itself,   through     hundreds          of mergers       and acquisitions,        to enable dominion              over all sellers, buyers,


and middlemen              in the marketplace.           It has absorbed the market                 internally     and consumed           most of


the revenue.         Google's        unlawful        anticompetitive         conduct     is directly      stripping       newspapers        across

the country,        including        Plaintiff's,     of their primary       revenue      source.


           13.         The freedom             of the press is not at stake; the press itself                    is at stake. Plaintiff         has


suffered     an antitrust       injury     under Sections        I and 2 of the Sherman Act. 15 U.S.C.                       § 2.


           14.         Google         and Facebook,         archrivals       in the digital         advertising       market,     conspired        to


further    their     worldwide           dominance         of the digital         advertising         market      in a secret           agreement


codenamed "Jedi             Blue."      The two archrivals,          who are sometimes             referenced      as operating         a duopoly


in   the market,           unlawfully          conspired     to manipulate             online     auctions        which      generate       digital


advertising       revenue.       Facebook           and Google      agreed to avoid competing                with another in September


2018.      The quid pro           quo was as follows-Facebook                      would        largely   forego      its foray into header


bidding      and would          instead bid through          Google's        ad server.         In exchange,       Google       agreed to give

Facebook         preferential       treatment       in its auctions.




2SeeAGs v. Facebook caseat %21; Complairtt, U.S. et al. v. Facebook Inc., United StatesDistrict
Court for the District of Columbia (Case 1 :19-cv-02184-TJK) (Doc. 1 at %2) (filed 07/24/19).
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             15.           This    agreement       closed        a growing         threat to Google's               primacy       and further      cemented


its stranglehold             on the marketplace.                 These      actions       are illegal         and directly          caused       newspapers


across the country,                including      Plaintiff's,         enormous         financial      harm         in the form          of loss of revenue


sources.       This       is a per se violation           of Section         I of the Sherman                Act,     which       declares "[e]very..                .


conspiracy,         in restraint       of trade or commerce                 among         the several        States"      to be illegal.         15 U.S.C.          §


1.


             16.           The Clayton          Act, 15 U.S.C            § 12, etseq.,          operates      in conjunction             with   the Sherman


Act to create private                causes of action            for violations          of federal        antitrust      laws.      See Blue          Shield    of


Va. v. McCready,                  457 U.S. 465, 471, 102 S. Ct. 2540, 2544 (1982);                                   Pfizer,      Inc. v. Gov't        of India,


434 U.S. 308, 311-13,                  98 S. Ct. 584, 586-88               (1978).


             17.           There     is a direct       causal connection               between       these antitrust           violations       and the harm


to competition             on the merits         and to Plaintiff.          The harm was intentional                     and intended.           The harm           is


of a type          that    Congress        sought       to redress         in providing            a private         remedy        for    violations       of the


antitrust      laws.        The     loss   of revenue            streams       can be directly                tied     to the      antitrust      conduct        of


Defendants.           Plaintiff      is a direct       victim        of the alleged       antitrust        injury     as a competitor           in the digital


advertising           market.        Damages           can      be    quantified         and     apportioned           among         those      directly        and


indirectly         harmed.


             18.           In its Complaint,            Plaintiff       does not allege             a breach         of any contract,           nor a dispute


regarding          the performance             of a contractual            term,       with     Defendants.           Plaintiff      alleges     two     distinct


antitrust      causes of action,            asserting        that (a) Google             unlawfully          exercised         monopoly         power      of the


digital      advertising          market       (both    search        advertising        and display          advertising)          which       is a Sherman


Act § 2 violation             and (b) Google            and Facebook           unlawfi,illy         conspired          to engage in anticompetitive


conduct        which       is a per se Sherman               Act      § l violation           (including      the sealed Jedi Blue               agreement).

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Plaintiff      also asserts a cause of action                    under    Georgia         common             law for unjust          enrichment.        Nothing


herein      should     be construed            to allege      a breach      of, nor arise out of, any terms                         of use governing          any


contractual        agreement          between        Plaintiff      and Defendants.


                                                      JURISDICTION                     AND       VENUE


            19.         This Court           has subject         matter jurisdiction             over this action            under       28 U.S.C.       §§ 1331


and 1337;         Section      2 of the Sherman               Act, 15 U.S.C.              § 2, et seq.; and Sections                     3, 4, and 16 of the


Clayton        Act, 15 U.S.C.           §§ 14, 15, and 26, because                     Plaintiff        alleges       violations      of federal        law. This


Court       has supplemental                jurisdiction         over    Plaintiff's          state law         claims       under       28 U.S.C.        § 1367


because        those claims          are so related          to Plaintiff's          claims          under     federal     law that they form             part of


the same case or controversy.


            20.         This        Court     also has jurisdiction              over         this    action      under      statutory      authority       of 28


U,S,C,       § 1332       in that       Plaintiff       is a citizen          of Georgia              and, upon           information        and belief,       all


Defendants           are citizens       of states other than Georgia                      and the amount                 in controversy          well    exceeds


$75,000.00         exclusive         of interest       and costs.


            21.         VenueandjurisdictionareproperinthisDistrictpursuantto                                                   15U.S.C.          §22because


Defendants         transact      business         in this District.


                        a)     At    all times        material       herein,      Google             engaged          in regular,      practical,       everyday


                               business        of a substantial          character        in this District.             Upon       information       and belief,


                               Google         is the largest        provider      of digital           advertising         in this District,        and Google


                               regularly        directs      commercial          activity        to this District          by targeting          and supplying


                               consumers            within       this District         with     directed        advertisements.            Google        operates


                               its products         within       this District       on a regular            and everyday            basis, which        are used


                               by thousands            and thousands             of consumers                within      this District      each day. These

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                               products        include         Google       Search,          Chrome,          YouTube,          Gmail,      Android,       Google


                               Maps,       Google        Drive,      and Google                  Play    Store.     Google      is ubiquitous          across the


                               digital      economy            in this District.            Its contacts           with   this district        are regular         and


                               continuous;            they are not isolated                 and sporadic.            Google        also derives      substantial


                               revenue        from      the operation          and use of its products                    within     this District.


                        b)     Facebook          is the largest           social          networking          platform       in this District.         Each       day,


                               thousands         and thousands             of consumers                 within     this District      access Facebook              and


                               its family        of products,             including              Facebook         Blue,   Instagram,           Messenger,          and


                               WhatsApp.              Facebook        also regularly               directs       commercial         activity     to this District


                               by     serving         directed       and     targeted             advertisements           to      consumers         within        this


                               District.      Facebook           derives     substantial             revenue        firom its commercial             activities        in


                               this      District.       Its    contacts         in       this     District        are regular,        constant,       and        of    a


                               substantial           character.     Facebook's               activities          are not isolated        or sporadic.


             22.        Venue         is also proper             in this     District            pursuant         to 28 U.S.C.           § 1391(b)        in that        a


substantial        part of the events or omissions                      giving        rise to this action            occurred       in this judicial       district.


             23.        This     Court       also has personal              jurisdiction             over each of these Defendants                     in that, at


all times      material        herein,       they      transacted         business           in Georgia;           contracted        to supply       services          or


things     in Georgia;          and/or       committed            acts and/or             omissions           in or outside        Georgia        which       caused


tortious     injury     to Plaintiff.


             24.        Defendants'            conduct         as alleged        herein          has had a substantial             effect      on interstate       and


intrastate     commerce.              At all material            times,     Google           and Facebook             participated          in the conduct             set


forth    herein       in a continuous            and uninternupted                 flow          of commerce          across       state and national             lines


and throughout           the United          States.

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                                                       FACTUAL              ALLEGATIONS


            A.          The Importance                 of a Free        and Diverse             Press        and the Decline                of Local
                        Newspapers


            25.         A free and diverse                  press is essential              to a vibrant           democracy.               Whether         exposing


cornuption         in    government,               informing          citizens,        or      holding         power         to     account,          independent


journalism        sustains       our democracy              by facilitating           public     discourse.


            26.         Newspapers             have        played       a key          role      in    our      democracy                since      its    founding.


"'Journalismissaidtobethefirstroughdraftofhistory.                                              TheFederalistPapersvverefirstpublished


in   newspapers            in    New        York      in    1787-88        to     promote             the     ratification          of      the    United         States


Constitution.           The     fact that policy            debates       today        are informed             by the public                forum        offered     by


newspapers          in the past is a reminder                    that the media               have been intertwined                      with      and integral        to


democracy          since the founding."'3


            27.         "The      liberty      of the press           ought       not to be restrained."                   Alexander              Hamilton,         THE


FEDERALIST PAPERS: N0.                      84 (1791).


            28.          Congress        has declared:


            In the public         interest     of maintaining             a newspaper            press editorially                and reportorially
            independent           and competitive               in all parts of the United                   States, it is hereby                 declared
            to    be the        public       policy        of   the    United         States      to        preserve       the      publication            of
            newspapers           in any city,         community,           or metropolitan                  area where            a joint       operating
            arrangement           has been heretofore                 entered         into because             of economic               distress     or is
            hereafter         effected   in accordance             with    the provisions              of this chapter.


15 U.S.C.         § 1801,       etseq.




3      Sandra Feder, Stanford Report, Interview                                         with James Hamilton, Hearst Professor of
Communication                 at Stanford          University's           School        of Humanities                and      Sciences,            Feb.     27,     2020
(citation      omitted):        https://news.stanford.edu/2020/02/27;journalism-and-democracy/.
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            29.             Inl995,MicrosoftCEOBillGatescirculatedanintemalmemorandumtoexecutive


staff     which        concluded:          "The         Internet     is a tidal        wave.        It changes         the rules.       It is an incredible


opportunity            as well      as incredible         challenge[.]""             As a result,      newspapers             have seen a steady decline


in circulation.5            According         to the Pew Research                    Center,     U.S. newspaper               circulation       fell in 2018 to


its lowest        level     since 1940,          the first year with            available        data.6


            30.             Since     2006,       newspaper           advertising           revenue,         which     is critical      for     funding       high-


quality     journalism,             has fallen      by over 50%. Despite                    significant       growth      in online         traffic     among      the


nation's       leading          newspapers,             print      and     digital        newsrooms          across      the    country         are laying         off


reporters         or     folding       altogether.          As      a result,         communities            throughout          the    United          States     are


increasingly            going       without       sources        for local     news.       The emergence              of platform        gatekeepers-and


the market         power         wielded      by Google            and Facebook-has                  contributed        to the decline           of trustworthy


sources      of news.


            31.             Since     2006,       the news          industry         has been in economic                freefall,      primarily         due to a


massive        decrease           in advertising            revenue         caused         by Defendants'             anticompetitive                and unlawful


conduct.          Both      print     and broadcast                news     organizations            rely    heavily      on advertising               revenue      to




4https://www.iustice.gov/sites/default/files/atr/legacy/2006/03/03/20.pdf.                                                       Microsoft proceeded to
monopolize             internet       access resulting              in a consent           decree     with        the U.S. Department                 of Justice    to
resolve antitrust claims. United States v. Microsoft Corp., 231 F. Supp. 2d 144, 149 (D.D.C. 2002).
5 Penelope Muse Abemathy,       News Deserts and Ghost Newspapers:       Will Local News Survive?,
The Center             for Innovation         and Sustainability                in Local        Media,       Hussman           School    of Journalism             and
Media,                 University                  of            North               Carolina                at         Chapel                Hill          (2020)
(202QNews...Deserts..andGhost                                   Newspapers.pdf              (usnewsdeserts.com).
6 PewResearchCenterisanonpartisanfacttankthatinformsthepublicabouttheissues,attitudes,
and trends         shaping          the world.      It does not take policy                 positions.       The Center         conducts        public     opinion
polling,       demographic             research,         content      analysis,           and other      data-driven          social    science        research.      It
studies     U.S. politics             and policy;         journalism          and media;         internet,         science,     and technology;            religion
and public          life;    Hispanic         trends;       global        attitudes        and trends;        and U.S.         social   demographics               and
trends.     All    of the Center's            reports       are available            at www.pewresearch.org.                     Pew Research             Center      is
a subsidiary           of The Pew Charitable                     Trusts,     its primary        funder.
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support       their operations,        and as the market         has shifted      to digital      platforms,     news organizations


have seen the value of their advertising                    space plummet        steeply. For newspapers,               advertising      has


declined      firom $49 billion        in 2006 to $16.5 billion          in 2017. National          and local news sources alike

have felt this decrease.


            32.        As a result       of falling        revenues,    newspapers            are steadily     losing     the ability     to


financially         support their newsrooms,          which     are costly to maintain            but provide      immense        value to


their communities.           A robust     local newsroom          requires      the financial       freedom      to support      in-depth,


sometimes         years-long     reporting,   as well as the ability           to hire and retain journalists            with expertise


in fundamentally          local issues, such as coverage of state government.


            33.        Budget      cuts have also led to a dramatic                   number      of newsroom       job       losses. This


decline      has been primarily           driven      by    a reduction       in newspaper          employees,          who    have     seen


employment           fall by half over a recent 8-year period,                from 71,000 in 2008 to 35,000                   in 2019.    In


2019       alone,    7,800     media    industry      employees        were    laid    off.    The Bureau        of Labor        Statistics


estimates that the total employment                of reporters,       correspondents,          and broadcast     news analysts will


continue      to decline by about 1 1% between 2019 and 2029.


            34.        Researchers      at the University        of North       Carolina       School   of Media        and Journalism


found      that the United         States has lost nearly         1,800       newspapers        since 2004 either         to closure      or


merger, 70% of which were in metropolitan                       areas. As a result, the majority             of counties       in America


no longer have more than one publisher                      of local news, and 200 are without                 any paper.


            35.        According       to a recent article published           by the University         of North       Carolina,     many


citizens     across the country         now live in a "news        desert"      as a result of these closures            and layoffs:




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            36.       In order to survive          in the digital        marketplace,        newspapers          were forced       to transition


revenue        sources   from     traditional      print     advertisements          to digital       advertising.        Unfortunately,         the


illegal    monopolization           of digital      advertising          by     Google,      along     with     private      agreements       with


Facebook,         have prevented       them      from      competing          on the merits     in the digital       advertising       market.


            37.       Local     journalism       is essential          for healthy     communities,            competitive       marketplaces,


and a thriving       democracy.        Unfortunately,             the local news industry             is being    decimated        in the digital


age.      This    is due both     to the rapid         proliferation       of online       news      content     as well      as unfair    market


practicesbysomeoftheworld'slargesttecmologycompaniesthatreuselocalnews'                                                           content,data,


customers,        and advertisers.           Report,      Local     Journalism:           America's      Most      Trusted      News      Sources


Threatened,        U.S. Senate Committee                on Commerce,             Science,     and Transportation             (Oct. 2020).


            B.        Digital     Advertising          Market


            38.       There      are two principal          forms      of digital    advertising:       search advertising          and display


advertising.


            39.      "5e'arc/xadvertising55referstodigitaladsondesktopormobilesearchengines,such


as the Google.com               homepage,        displayed        via "search        ad tech"        alongside       search     engine     results.




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Search       advertising           is     often    bought        and     sold     via     real-time       bidding         (RTB)       auctions        among


advertisers,         where      advertisers        set the price they are willing                 to pay for a specific            keyword     in a query.


             40.          "Display         advertising"         refers    to the delivery             of digital     ad content        to ad space on


websites       and mobile            apps, which          is referred      to as "inventory."              Within        display     advertising,      there


are two separate "ad               tech"     market       platforms:       first-party       and third-party.


             41.          'First-partydisplayadtechplatforms"sellaasp:ceontheirownplatformsairect}y

to advertisers.           For example,            Facebook        sells ad space on its platfomi                    to advertisers.          Google      sells


display      ads on its own properties                  such as YouTube.


             42.          "Third-party            display ad tech platforms"                      are run by intermediary vendors and

facilitate         the    transaction         between           third-party           advertisers        and   third-party          publishers.        Here,


specialized          software      automates         the buying          and selling        of digital     ads through        an ad exchange.


             C.           The Third-Party              Ad Tech           Suite




                                                                          Exchange




                                                                                                                               8
          Example:                                                                                                                     Example:
     Washingtonpostcom                                                                                                             local drycleaner


             43.          Sell-side        software        includes        publisher         ad     servers.       The     primary         function      of      a


publisher          ad server is to fill           ad space on a publisher's                website       that is personalized              to the interests


of a specific            website        viewer.     Sell-side      software           also includes       ad networks,             which     aggregate        ad


inventory          from many         different      publishers         and divide        that inventory        based on user characteristics-




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such as age or location.           Ad networks             sell the pool of inventory           through          ad exchanges          or demand-


side platforms        (DSPs).


          44.         Buy-side         software      includes        advertiser      ad servers,         that    is, software           that     stores,


maintains,       and delivers      digital     ads to the available             inventory.     Advertiser          ad servers         facilitate        the


programmatic         process      that makes        instantaneous          decisions      about which            advertisements           to display


on which        websites     to which        users and displays           the ad on that site.           Ad servers         collect      and report


data,    such     as ad impressions            and clicks,       for     advertisers      to monitor            ad performance            and track


conversion        metrics.     Buy-side       software       also includes         demand-side        platforms,          software      that allows


advertisers       to buy advertising           inventory       from     a range     of publishers.         Demand-side            platforms             use


data to create targeted          ad audiences            and engage in purchasing              and bidding.


          45.         Approximately            86%       of online       display     advertising       space in the United                     States     is


bought     and sold in real-time              on electronic          trading    venues,      which    the industry           calls "advertising


exchanges."'         Ad exchanges            refer to the ad trafficking            system     that connects         advertisers          looking         to


buy inventory         with    publishers       selling     inventory.          Sales on ad exchanges              occur     primarily          through:


(a) open real-time           bidding       auctions;       (b) closed      real-time      bidding     auctions;        or (c) programmatic


direct   deals.     The ad tech suite also includes                    analytics     tools   that allow         advertisers      and publishers


to measure        ad campaign       efficiency,          including      consumers'        interactions      with     an ad.      Similarly,         data


management          platforms      aggregate        and store consumer               data from       various       sources     and process              the


data for analysis.           Advertisers       and publishers           use data management               platforms         to track,      partition,


and target      consumer        audiences       across websites.




7 Dina Srinivasan, )Dy Google Dominates Advertising Markets: Competition Policy Should                                                             Lean
on the Principles ofFinancialMarketRegulation, 24 Stan. Tech. L. Rev. 55, 58 (2020).
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            46.        The ad exchange                connects        advertisers         looking       to buy      inventory           with     publishers


selling     inventory.        With    intermediaries             that route       buy    and sell orders,          the stmcture            of the digital


advertising        market      is similar      to the structure            of electronically          traded      financial      markets.         In digital


advertising,        a single    company,            Google,      simultaneously            operates     the leading         trading       venue,     as well


as the leading        intermediaries          that buyers         and sellers go through               to trade. At the same time,                   Google


itself    is one of the largest           sellers    of ad space globally.              Google       monopolizes           advertising          markets       by


engaging          in conduct       that    lawmakers           prohibit      in other       electronic       trading        markets:           Google's       ad


exchange          shares superior          trading     information           and speed with            the Google-owned                  intermediaries,


Google      steers buy and sell orders                 to its own exchange                 and websites         (for example,            Google       Search


and YouTube),            and Google          abuses its access to inside                 information.8


            47.        The digital         advertising         market       is highly       concentrated,         with      Google        and Facebook


controlling        the majority       of the online           advertising         market     in the United          States, capturing             nearly      all


of its growth        in recent years.


            48.        Over     the last decade,              the digital      advertising          market      has experienced                double-digit


year-over-year           growth.      The market,             however,        has become             increasingly          concentrated            since   the


advent      of programmatic               trading.     In 2017,       Business          Insider      reported      that Google            and Facebook


accounted         for 99% ofyear-over-year                 growth         in U.S. digital         advertising      revenue.      Today,          advertisers


and publishers           alike have few options                when       deciding      how to buy and sell online                  ad space.


            49.        This     concentration           likely     exists     in part due to high               barriers      to entry.         Google     and


Facebook          both have a significant             lead in the market             due to their significant              collection      of behavioral


data online,        which      can be used in targeted              advertising.          Additionally,          Google       and Facebook            do not




s Id.
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provide        access     to this     unique      data in open         data    exchanges.           Advertisers'          only     access      to this


information        is indirect-through             engagement         with    Google          and Facebook's           ad tech suite.


            50.          This significant        level of concentration          in the online           advertising      market-commonly


referred       to as the digital      ad duopoly-has             harmed       the quality       and availability          of journalism.          As a


result     of this       dominance,       there    has been       a significant         decline          in advertising       revenue        to news


publishers,underminingpublishers'                      abilitytodelivervaluablereportingand"siphon[ing]revenue


away from         news organizations."'              House     Judiciary       Report,        p. 70 (citation      omitted).


            51.          Thereisaclearcorrelationbetweenlayoffsandbuyoutsinthenewspaperindustry


with     the growth       in market      share for the duopoly-Google                    and Facebook.             The intemet           distribution


systems        distort     the flow      of economic         value    derived        from      good       reporting.       The     effects     of this


revenue        decline     are most      severe    at the local      level,   where      the decimation            of local       news     sources      is


giving     rise to local news deserts.


            D.           Google's      Digital     Advertising        Market         Monopoly


            52.          All roads lead through         Google.        See Fiona        Scott Morton           & David      Dinielli,      Roadmap


for a Digital Advertising Monopolization Case Against Google (May 2020); Fiona Scott Morton

& David Dinielli, Roadmap for a Monopolization                                  Case Against Google Regarding the Search

Market      (June 2020).            These two      papers     together        show     how      Google       monopolized           general      search


and used that dominance                  as a springboard         to build     and maintain              dominance        in the digital       display


advertising       market      as well.


            53.          Google      was launched       in 1998 as a general             online      search engine.          Founded         by Latag


Page and Sergey             Brin,     the corporation        got its start by serving                 users web         results    m response           to


online     queries.       Google's     key innovation         was its PageRank                algorithm,       which      ranked    the relevance


of a webpage          by assessing        how many       other webpages              linked     to it.    In contrast      with    the technology

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used by rival search engines, PageRank                          enabled Google to improve                    the quality      of its search results


even as the web rapidly                grew.    While      Google had entered a crowded                        field, by 2000 it had become


theworld'slargestsearchengine.                       LaterthatyearGooglelaunchedAdWords,anonlineadvertising


service       that let businesses          purchase       keywords           advertising         to appear on Google's              search results


page-an             offering   that would       evolve to become the heart of Google's                          business model.


              54.         Today,       Google      is    ubiquitous            across      the     digital      economy,         serving    as the


infrastructure          for core products         and services online.             It has grown and maintained                  its search engine


dominance,            such that "Googling"              something          is now synonymous                 with    online   search itself.      The


company         is now also the largest provider                  of digital     advertising,        a leading web browser,             a dominant


mobile        operating        system, and a major              provider     of digital     mapping,           email, cloud computing,            and


voice     assistant        services,      alongside       dozens       of other         offerings.           Nine    of Google's        products-


Android,        Chrome,         Gmail,    Google        Search, Google            Drive,     Google          Maps,    Google      Photos,   Google

Play Store, and YouTube-have                       more than a billion              users each.


           55.            Google       established        its     position        through         acquisition,         buying      up    successful


technologies           that other businesses            had developed.            In a span of 20 years, Google                   purchased     well

over    260     companies.


           56.            Google is now one of the world's                     largest corporations.                For 2019, Google reported


total revenues of $160.7 billion-up                       45% from 2017-and                  more than $33 billion               in net income,


           57.           Although        Google    has diversified             its offerings,      it generates the vast majority              of its


money through             digital   ads, which       accounted        for over 83o/o of Google's                    revenues in 2019.




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                                                                 Adverttstng    revenue     of Google from 2001 to 2019 (in billion                         u.s. doflars)

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               58.      Google makes the vast ma3ority of its revenue by selling advertising placement

acrosstheinternet.           In20l9,Google'sadrevenueaccountedforapproximately83.3%ofitsoverall


sales. Google           is a prominent                           player          in both                  search advertising                                and display                          advertising,    and it


captures         over   50% of the market                                      across the ad tech stack,                                            or the set of intermediaries                                     that


advertisers          and publishers                must use to buy, sell, and place advertisements.                                                                                       Specifically,         Google


runs   the leading        ad exchange,                           while         also running                         buy-side        and sell-side                            intermediary                platforms    on


the exchange.


               59.      Publicly       available                          data      suggests                            Google       captured                        around                   73%       of the search


advertising          market in 2019.                      Search advertising,                                       in particular,           is critical                     to Google,                 accounting    for


approximately            61% of its total sales.                                 Google                    overwhelmingly                           dominates                         the market           for general


online search.          Publicly    available                          data suggest the firm captures over 87% of U.S. search and over


92% of queries worldwide.


               60.      For businesses that depend on Google to reach users, these trends amount to a toll


hike, as traffic        that firms could previously                                         draw through                           organic             listings                 is now increasingly                  pay-



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for-play.         Instead       of competing               for users by offering             high-quality         webpages           and services        that


should      lead to better           organic       search listings,       these businesses                 must now       compete        for users based


on how much                money      they pay Google.


            61.            In September           2020,      the Senate Judiciary             Committee          held a hearing            on the effects


of Google's         dominance            in digital        ads, where     members          expressed         bipartisan        concern     that Google's


market          power       across       the    ad tech       stack     was      enabling          anticompetitive             conduct     and    hamiing


publishers        and advertisers              alike.


            62.            One key factor           that market        participants         and industry         experts        cite when     accounting


for why         Google       is likely     to maintain         its dominance          in digital       ads is its conflict         of interest.     With      a


sizable     share in the ad exchange                      market   and ad intermediary                 market,     and as a leading           supplier      of


ad space, Google               simultaneously              acts on behalf        of publishers             and advertisers,        while     also trading


for   itself.      This      demonstrates               a set of conflicting            interests      that market         participants       say enable


Google      to favor itself           and create significant            information          asymmetries          from which            Google    benefits.


In this electronically               traded market,           Google     is pitcher,       batter,     and umpire,         all at the same time.


            63.            In June 2020,           the News        Media        Alliance       published         a white        paper     examining        the


relationship        between          news publishers            and Google           based on interviews                with    its members       over the


course      of more         than a year.          As it notes, "Google               has exercised            control     over news publishers              to


force them into several relationships                         that benefit      Google       at the publishers'           expense."        In the context


of Google's         placement            of news on accelerated                mobile     pages (AMP)-a                 format     for displaying        web


pages       on    mobile         devices-publishers                   raised     concerns           that    "Google        effectively       gave     news


publishers        little     choice      but to adopt         it, requiring       the creation         of parallel        websites       that are hosted,


stored and served              from      Google's          servers rather       than their     own."


            64.            The House           Judiciary      Report     concludes         that:

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             Google        has       a monopoly               in    the markets             for     general      online       search       and     search
             advertising.           Google's           dominance           is protected           by high      entry       barriers,      including       its
             click-and-query                 data and the extensive                  default       positions        that Google           has obtained
             across       most        of      the    world's          devices        and    browsers.              A    significant           number      of
             entities-spanning                        major           public          corporations,                small        businesses,              and
             entrepreneurs-depend                       on Google            for traffic,         and no alternate          search engine           serves
             as a substitute.


House       Judiciary           Report,       p. 14.


             65.          Google             maintained            its    monopoly             over        general         search      through         a series       of


anticompetitive                 tactics.      These         include       an aggressive               campaign           to undermine             vertical       search


providers,         which         Google            viewed      as a significant             threat.    Documents              show      that    Google          used its


search monopoly                  to misappropriate                 content      from    third      parties     and to boost            Google's        own inferior


vertical     offerings,           while       imposing         search penalties             to demote         third-party          vertical     providers.        Since


capturing          a monopoly              over general         search, Google              has steadily         proliferated          its search results           page


with    advertisements                and with         Google's           own    content,          while     also blurring          the distinction           between


paid    advertisements                and organic              results.         As     a result        of these         tactics,       Google      appears        to be


siphoning          offtraffic        from the rest of the web, while                        entities       seeking      to reach users mustpay                  Google


steadily       increasing          sums for advertisements.                      Numerous             market       participants         analogized        Google      to


a gatekeeper           that is extorting              users for access to its critical                     distribution        channel,        even as its search


page shows users less relevant                          results.


             66.          Since capturing               the market           for online        search, Google              has extended          into a variety       of


other      lines    of business.              Today         Google        is ubiquitous            across the digital              economy,        serving        as the


infrastructure           for      core products              and services            online.        Through            Chrome,         Google      now       owns    the


world's       most popular                 browser-a           critical      gateway         to the internet            that it has used to both protect


and promote            its other           lines    of business.          Through           Google         Maps,       Google       now       captures       over 80%



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of the market            for navigation           mapping        service-a             key product           over which          Google      consolidated


control      through         an anticompetitive             acquisition       and which           it now leverages              to advance       its position


in search and advertising.                   And through         Google          Cloud,      Google        has another          core platform        in which


it is now          heavily     investing       through        acquisitions,           positioning          itself    to dominate          the "Intemet          of


Things,"          the next wave of surveillance                  technologies.


            67.          Each of its services               provides      Google        with      an aggregation           of user data, reinforcing


its dominance                across     markets      and      driving      greater        monetization              through      online     ads. Through


linking      these      services        together,     Google       increasingly              functions        as an ecosystem              of interlocking


monopolies,


             E.          Google         Conspires        with     Facebook            to Further          Its Monopolization                of the Digital
                         Advertising           Market


             68.         TheU.S.HouseJudiciaryCommitteehasdeterminedthat"Facebookhasmonopoly


power       in the market         for social networking"                 holding       "an    unassailable           position     in the social       network


market       for nearly        a decade,       demonstrating            its monopoly             power."        House      Judiciary       Report,      p. 133.


             69.         Facebook's           monopoly          power       is firmly          entrenched           and unlikely          to be eroded        by


competitive           pressure        from    new entrants         or existing          firms.     The House           Judiciary       Report      concludes


that "[m]ore           recent     documents          produced           during     the investigation                by Facebook           show    that it has


tipped      the social networking               market       toward       a monopoly,            and now considers               competition         within     its


own       family      of products        to be more          considerable             than competition              from      any other     firm."      House


Judiciary          Report,     p. 13.


             70.         Facebook            has also maintained              its monopoly               through       a series      of anticompetitive


business       practices.        The company             used its data advantage                  to create superior             market     intelligence        to


identify       nascent        competitive         threats     and then acquire,               copy,      or kill     these firms.         Once     dominant,



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Facebook       selectively       enforced     its platform         policies    based on whether it perceived               other companies


as competitive        threats.     In doing so, it advantaged                  its own services while weakening                other firms.


         71.          Facebook          has also maintained               and expanded         its dominance         through      a series     of


acquisitions      of companies            it viewed      as competitive          threats, and selectively          excluded      competitors


from using its platform                to insulate     itself    from competitive           pressure. Together,          these factors have


tipped the social networking                market toward            a   monopoly.


         72.          In July 2020, the United                  Kingdom's       Competition      and Markets        Authority        found that


Facebook       is dominant       in the markets for social networks                  and digital      display     ads, and that its market


power "derives         in large part from               strong      network      effects     stemming      from     its large network          of


connected      users and the limited            interoperability           it allows to other social media platforms."                  In July


2019, Germany's          Federal Cartel Office,                  Bundeskartellamt,          found that "Facebook            is the dominant


company        in the market            for social       networks,"         and that in Germany's               social     network     market,


"Facebook       has a market            share of more than 95% (daily                      active users)."       And in June 2019, the


Australian      Competition            & Consumer             Commission        found that "Facebook            [has] substantial       market


power in a number            of markets...             and that this market          power is unlikely           to erode in the short to


medium       term."     The conduct           of Facebook           as set forth in these international             reports      is consistent


with Facebook's         actions here in the United                  States.


         73.          Since      its     founding        in     2004,     Facebook     has      acquired        at least    63    companies.


Facebook's       internal     documents         indicate        that the company           acquired   firms it viewed        as competitive


threats to protect and expand its dominance                          in the social networking           market.


         74.          Facebook          monetizes       its platform       through   the sales of digital         advertising.       Facebook


garnered over $70 billion                in revenue in 2019, a nearly 27% increase from 2018.                              It generates over


98% of this revenue from selling                     digital     advertisements.

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           75.        Facebook        has monopoly                power       in online        advertising         in the       social     networking


market.        Notwithstanding           Google's       dominance,           Facebook         also has a significant                share of revenue


and growth        in online      advertising        with      many    market       participants        referring         to them     as duopolies        in


this broad       market.


           76.        The House          Judiciary      Report       concludes         that digital     markets         tend to be characterized


by   strong      network      effects,       making        them      prone      to concentration               and monopolization.                 As   for


Google,      the value of online          platforms        that facilitate      advertising          increases         with   the number       ofusers,


as advertisers       gain access to a larger               consumer        base and, therefore,                to a larger      trove     of consumer


data. Facebook         exhibits    powerful          direct    network       effects     because it becomes               more valuable            as more


users engage        with   the social        network-no              person     wants        to be on a social            network        without      other


users.     Strong    network       effects     serve as a powerful              barrier      to entry        for new firms         to enter a market


and displace        the incumbent.             When        combined         with     other     entry     barriers        such    as restrictions         on


consumers         or businesses       easily      switching        services,       network         effects     all but ensure not just market


concentration        but durable         market      power.


           77.        According          to the Attorneys              General         for   the     States     of Texas,        Arkansas,          Idaho,


Indiana,       Kentucky,      Mississippi,           Missouri,       North      Dakota,        South         Dakota,      and Utah,        Google       and


Facebook         entered   into an illegal        agreement          to preserve        and protect          their respective        positions       in the


digital advertising market. SeeAGs v. Google case at %171.

           78.        Google       faced an emerging              threat      to its world         dominance           in the bidding        process      of


the digital       advertising       market.       Google         competes          in the digital            advertising        market       as well      as


representing        both the buyers          and the sellers.          Google       also operates            the largest      ad exchange.


           79.        In an attempt          to reinject       competition         in the marketplace,                 publishers        devised     a new


innovation        called   "header         bidding."          Header       bidding        routed       ad inventory           to multiple           neutral

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exchanges            each time a user visited               a web page in order to return                the highest         bid for the inventory.


At   first,     header         bidding      bypassed        Google's         stranglehold.        By    2016,      about     70%       of major       online


publishers           in the United          States had adopted            the innovation,          increasing        competition         on the merits.


Advertisers            also migrated             to header      bidding        in droves      because      it helped         them      to optimize         the


purchase        of inventory             through     the most cost-effective             exchanges.


              80.             Googlequicklyrealizedthatthisinnovationsubstantiallythreateneditsexchange's


ability       to demand          a very large cut on all advertising                  transactions.       Header bidding               also undermined


Google's            ability     to trade        on inside     and non-public            information        from      one side of the market                 to


advantage           itself     on the other-a          practice      that in other markets             would      be considered          insider     trading


orfrontrunning.                 Asaresult,andasGoogle'sinternalcornmunicationsmakeclear,Googleviewed


header bidding's                promotion          of genuine       competition        as a major       threat.


              81.             Google      responded        to this threat       of competition         through       a series of anticompetitive


tactics.       One way that Google                  took aim at header bidding                was by introducing             an alternative          it called


"Open         Bidding,"          which     was integrated           into Google's        ad tech stack.           Yet again,     Google's          response


was designed                 to suppress        competition         on the merits        and favor       itself     over its competitors.              When


advertisements                 were      sold    through      Google's        "Open      Bidding,"        there      was     an additional            charge


imposed          by     Google,          usually     5%     of the supply-side            platform's        bid.      This     raised      rivals'      costs,


lowered        payments           to publishers,          and advantaged          Google.


              82.             Another      way      in which        Google      sought     to blunt      this     competitive          threat     and force


"Open         Bidding"           adoption        was through          its design       of accelerated           mobile     pages        (AMP).         AMP,


however,         was technically                designed    to render     websites       built    on the framework              with     header bidding


incompatible             with     its applications,         which     created a de facto requirement                  for publishers            to use AMP


and forgo           the more          competitive      header       bidding.         Google      also dropped        the PageRank               of sites that

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did not       adopt     AMP,       maliciously            rendering          such        sites nearly          invisible       to Google             searches      and


starving       publishers       of the web traffic               needed        to create ad revenue                  and sustain          their      ad business.


As a result,        publishers         could      not utilize     header bidding               without         being penalized            for doing        so (both


financially        and through          the inability         of users to see/reach                 their sites), which              substantially        removed


the financial         benefit    of competition              on the merits              that header bidding             had provided              to publishers.


             83.        Google'stechnicaldisablementofheaderbiddingstnuckattheheartofcompetition


on the merits         and thwarted             publishers'       ability      to garner the highest                bid for their inventory                and thus


to fairly     compete        for online          advertising      revenue.          The anticompetitive                    tactics     employed         by Google


undermined           publishers'         ability      to offer     their      inventory            to multiple       ad exchanges               simultaneously


before      making       calls to their          ad servers,      disallowing              and disabling            multiple          demand         sources      from


bidding        on the publishers'                inventory       at the same time.                      This    resulted       in decreased             control     by


publishers,         decrease       in     yield       or fill    rate,      and         significantly          decreased          revenue         to publishers.


Whereas        header        bidding      had allowed           publishers          to bypass           the favorable          relationship           that Google


had set up between               its own         ad server      and ad exchange,                technological              disabling       of header       bidding


placed      publishers        back at the mercy                of Google.


             84.        Google          took       additional        steps         to     undemiine            header        bidding           and     ensure      that


publishers          increasingly           relied       on      Google-controlled                    programrnatic             channels           including         the


"minimum            bid to win"         feature,      which      Google        implemented               in 2019.          This      feature    allowed        buyers


using       Google's         software       (as opposed           to header              bidding        offered     by its rivals)             to receive         extra


information           that    allowed          them     to adjust          their    bidding          strategy       and potentially               buy    the      same


inventory          at a cheaper         price.      The natural          result         was that buyers            were       driven      to directly       interact


with     and shift their budget                to Google's        Ad Manager                rather      than another          ad exchange.




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          85.           In March        2017,      Facebook-Google's                    largest         Big      Tech     rival-announced                 that    it


would     throw       its weight        behind      header       bidding.         Like        Google,            Facebook          brought         millions      of


advertisers        on board        to reach        the users        on its      social       network.              In light        of Facebook's              deep


knowledge         of its users, Facebook               could     use header           bidding       to operate           an electronic          marketplace


for online       ads in competition             with      Google.      Facebook's             marketplace               for online       ads is known            as


Facebook         Audience       Network.           Google       understood            the     severity          of the threat           to its position            if


Facebook         were      to enter the market             and support          header        bidding.            To diffuse          this threat,        Google


made overtures             to Facebook.         Facebook         decided        to dangle          the threat           of competition             in Google's


face and then cut a deal to manipulate                         the auction.           The details          of the secret agreement                    are under


seal.


          86.           According         to     the      States       Attorneys             General,            Google        unlawfully             excluded


competition         from     header      bidding        by getting        its largest          rival,     Facebook,           to stop        supporting          the


header bidding           technology.       After       months      of signaling,         then drawn              out negotiations,            the two giants


reached      an illegal      agreement.         As the complaint              filed    by the States Attorneys                     General         explains:


                        In the end, Facebook              curtailed     its involvement                 with     header bidding             in return
          for     Google       giving     Facebook             infomiation,           speed,        and         other    advantages           in    the
          [REDACTED]                auctions       that    Google        runs     for publishers'                mobile       app advertising
          inventory         each month         in the United          States.     In these auctions,                Facebook          and Google
          compete          head-to-head         as bidders.         Google's          internal      codename             for tis      agreement,
          signed        at the highest-level,             was [REDACTED]                      -a        twist     on the character             name
          from       Star Wars.          The     parties       agree    on [REDACTED]                           for how       often     Facebook
          would         [REDACTED]               publishers'          auctions-             literally      manipulating               the    auction
          with      [REDACTED]             for how         often Facebook             would        bid and win.


SeeAGs v. Google caseat %14.

          87.           As part of the agreement,                Google         and Facebook               agreed to cooperate                and assist one


another        if either    were    to ever        face    an investigation              into      the agreement.                  As part         of the deal,


Facebook         would      spend at least $500 million                 per year in Google-run                      auctions,         and Google           agreed

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that Facebook              would       win    a fixed     percentage        of those auctions.               Facebook         believed      the deal was


"relatively         cheap"        as compared          with    direct    competition.


              88.          This bid-rigging            agreement         allowed     Google         to further     manipulate       auctions.        Google


already        manipulates             publishers'        ad auctions        by giving          Google        bidders        information       and speed


advantages.           In     2019,        these      advantages          helped     them       to    win     the     overwhelming            majority       of


publishers'          ad       auctions.         Now,          Google      offered         Facebook          infomation            advantages,           speed


advantages,           and         other      preferential        treatment,         conduct          constituting        harm       to     other     auction


participants.         And yet Google                 falsely    claims     that all bidders          in publishers'          auctions      compete      on an


equal footing:         "All       participants        in the unified       auction,        including       Authorized         Buyers      and third-party


yield partners, compete equally for each impression on a net basis." AGs v. Google caseat ffi195.

As alleged          above and herein,              that statement         is incorrect.


              89.          Plaintiff      incorporates         by reference         each of the averments               set forth        in the preceding


paragraphs          in each Count             of this Complaint.


                                    Count         I: Section      2 of the Sherman              Act:       15 U.S.C.     § 2
                              Google's         Monopolization              of the Digital           Advertising         Market


              90.          Section        2 of the Sherman             Act makes         it unlawful       for any person         to "monopolize,           or


attempt        to monopolize,              or combine          or conspire        with     any other        person    or persons,          to monopolize


any part of the trade or commerce                           among       the several        States, or with         foreign     nations."      15 U.S.C.         §


2.


              91.          Theoffenseofmonopolizationhastwoelements:"(l)thepossessionofmonopoly


power         in the relevant             market      and (2) the willful                acquisition        or maintenance           of that       power      as


distinguished              from     growth        or development             as a consequence                of a superior          product,       business




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acumen,         or historic      accident."         United     States v. Microsoft             Corp.,     253 F.3d 34, 50 (D.C.             Cir. 2001)


(quoting        United       States v. Grinnell           Corp.,     384 U.S. 563, 570-71               (1966)).


            A.           Relevant         Market:         Digital     Advertising          Market


            92.          "The        'market'     which      one must       study to detemiine             when      a producer       has monopoly


power       will     vary     with     the part     of commerce           under      consideration.          The tests are constant.                That


market      is composed              ofproducts        that have reasonable           interchangeability           for the purposes          for which


theyareproduced-price,useandqualitiesconsidered."                                           UnitedStatesv.E.I.DuPontdeNemours


,.,         351 U.S. 377, 404 (1956).


            93.          The     market         here    is aptly      described        as the digital         adverasirig         market.        House


Judiciary          Report,     p. 129. There           are two principal          forms      of digital     advertising:        search      advertising


and display           advertising.         Search       advertising       refers      to digital        ads on desktop           or mobile        search


engines,         such    as the Google.com                  homepage,        displayed         via "search         ad tech"      alongside        search


engine      results.        As discussed,          search     advertising         is often     bought      and sold via real-time               bidding


(RTB)       auctions         among       advertisers,        where      advertisers        set the price      they     are willing       to pay for a


specific      keyword         in a query.         Display     advertising         refers    to the delivery        of digital      ad content      to ad


space on websites               and mobile          apps, which         is referred        to as "inventory."         Like     search      advertising,


buying      and selling         display         ads often    involves      real-time        bidding.      Id. (footnotes        omitted);       see also


David      C. Dinielli,        Written      Statement,        Stacking      the Tech: Has Google              harmed         competition       in online


advertising'?,          Subcommittee             on Antitrust,        Competition          Policy,     and Consumer          Rights     of the United


States     Senate        Judiciary        Committee          (Sept.     15, 2020);         Dina      Srinivasan,      ny       Google       Dominates


Advertising Markets: Competition Policy Should Lean on the Principles of Financial Market

Regulation,          24 Stan. Tech.             L. Rev. 55, 58 (2020).




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             94.         There     is no reasonable            substitute         for digital     advertising.       Digital      advertising          is not


substitutable          with     traditional      forms       of advertising,          such as print,         television,       radio,      or billboard.


Each of these forms               of advertising          reaches      a distinct      group      of potential      customers,       and advertisers


and advertising             agencies     view       each of these forms             of advertising         as complementary               rather    than as


potential      replacements           for each other.           Digital      advertising         also is different      in kind     from      traditional


forms       of advertising         because        it is delivered          differently       and in a manner           that targets         the specific


individual          end user.       Additionally,           digital    advertisements             can be continuously             tracked,         updated,


and     improved-upon              based       on    data     showing         how        consumers         are responding.              Likewise,         the


component            markets,      search advertising            and display          advertising,        are not substitutable            for the other


as they       serve      a distinct     function        and different             audiences       and are reachable             by consumers             in a


different      manner.          Search        advertising       (which       is pulled)         is intent-based       advertising          that seeks to


induce       consumers          who have already              shown        an interest       in buying       a product        or service      to make           a


purchase.           Display      advertising,         including           video     (which        are pushed),         are     suitable      for      raising


awareness           about     a product,       service,      or brand       and reaching           new     audiences       that may not yet have


shown       an interest.


             95.         This durable          market       has significant          barriers      to entry,     including,      but not limited            to,


network        effects      that make platforms              more valuable            as they gain more users; the advantages                          of big


data, which           enable     platforms          and companies            to use the treasure            trove    of data they           collect     from


users to improve               the effectiveness            of their      products       and services;         and lock-in        effects     that cause


users to avoid           switching       platforms          or companies           so as not to lose their personal                 contacts,         history


of searches,          photos,     apps, and other            information.           For general          search,    additional      barriers        to entry


include      economies          of scale in developing                a web index;         access to click-and-query               data at scale; and


Google's           extensive     implementation             of default       positions.

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            96.           The United         States is the relevant               geographic       market        for the market           defined     above.


            B.            Google        Has Monopoly              Power      in the Digital            Adver'sing         Market


            97.           Google        has monopoly          power     in the digital          advertising       market,        which      is durable       and


itsleadisinsurmountable.                     HouseJudiciaryReport,p.                     180.     Google'smonopolypowerisexercised


through      its dominance            of approximately             86% ofthe         search enginemarket               share in the United              States


(id. at p. 176)          as well      as its ownership          of the digital        display       advertising        marketplace            (id. at 206).9


Googlehas             restrained      competition        on the merits        in digital        advertisingmarket,               has controlledprices,


and has in fact diminished                   and excluded          competition.


            C.            Google        Willfully      Acquired         and Maintained                 Its Monopoly          Power          of the Digital
                          Advertising           Market        by Using       Exclusionary              Acts


            98.           Whether         any particular          act of a monopolist              is exclusionary,              rather     than merely          a


form     of vigorous           competition          can be difficult          to discern:         the means         of illicit      exclusion,        like   the


means      of legitimate           competition,          are myriad.        The challenge              for an antitrust          court     lies in stating       a


general        rule     for    distinguishing          between        exclusionary             acts,    which       reduce        social     welfare,        and


competitive            acts, which       increase     it. United      States v. Microsoft               Corp.,    346 U.S. App.             D.C.     330, 253


F.3d 34, 58 (2001).




9 Today        Google         is ubiquitous          across     the digital        economy,         serving       as the infrastnicture               for core
products         and services         online.       It has grown        and maintained             its search engine             dominance,         such that
"Googling"             something         is now      synonymous            with     online      search itself.        The company                is now      also
the largest        provider        of digital       advertising,        a leading        web browser,             a dominant          mobile        operating
system,        and a major            provider       of digital     mapping,          email,       cloud      computing,           and voice         assistant
services,        alongside         dozens       of other      offerings.          Nine       of Google's         products-Android,                   Chrome,
Gmail,       Google           Search,     Google       Drive,      Google          Maps,      Google       Photos,       Google           Play     Store,    and
YouTube-have                   more     than a billion        users each.           Each of these services                provides          Google      with       a
trove     of user data, reinforcing                   its dominance           across         markets       and driving           greater     monetization
through        online     ads.     House        Judiciary     Report,      p. 174.
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             99.         Google        willfully        acquired       its monopoly          power      through       acquisition      of "well     over


260       companies,"          achieving           vertical     integration,         and eliminating          all competition,         in the search


engine      market.       House        Judiciary         Report,      p. 174.       Google     then created        a "walled        garden"    to retain


its captured         audience         through        acquisition,        merger,       and elimination        of threats       to its platform.       The


market       behind      the garden         wall     devours        most of the digital         advertising       revenue       in the marketplace.


Google       maintains         its monopoly             power       through      its ownership          and control       of every      aspect    of the


digital     advertising         pipeline,       including         running       the leading         ad exchange        while      also running      buy-


side and sell-side             intermediary           platforms        on the exchange           and using        it to give priority         to its own


products          and services.         Id. at 206. Google's                 ownership        and control      of every        aspect of the digital


advertising         pipeline     has enabled            Google       to in fact control        prices     and exclude          competition.


             D.          Plaintiff       Suffered         an Antitrust          Injury


             100.        Section4oftheC1aytonActpermitspartiestorecoverforinjuriestotheir"business


or property"           resulting        from       violations        of the antitrust         laws.     15 U.S.C.        § 15(a).       In Hawaii         v.


Standard          Oil Co., the Supreme                Court     explicitly      interpreted     "business        or property"        under     Section     4


tolimitrecoverableinjuryto"comrnercialinterestsorenterprises.                                                  405U.S.251,264(1972).                      A


Section       4 injury     must be caused "by                   reason    of"   conduct       that violates       the antitrust      laws. 15 U.S.C.


§ l 5(a).      Courts      have interpreted              this language          as imposing         a standing     requirement,         incorporating


notions      of proximate             causation,        for recovery         of antitrust      damages.        Blue     Shield,     457 U.S. 465, at


476-77.           Here, Plaintiff's         injuries      are a direct        result    of Google's       antitrust    violations      as set forth      by


the House          Judiciary       Committee,           pp. 57-73.


             101.        Newspapersacrossthecountryaredependentupondisplayadvertisingforrevenue


and economic             viability.        However,           as a result       of Google's          anticompetitive        conduct,      Google         has


hatamed competition                   and newspapers               have      been      foreclosed      from    competing          on the merits          for

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advertising       revenue.            As      a direct       and proximate               result    of the anticompetitive                    conduct           alleged


herein,     Plaintiff       suffered,         and continues             to suffer,        monetary          harm        and substantial              losses      to its


business       or property          insofar     as its revenues           from     selling        digital     advertising           space were artificially


suppressed.             Google        was      able      to extract           a supracompetitive                    share    of     Plaintiff's        advertising


revenues.        This reduction              in advertising           revenues      reduces         news output              and affects          the quality      and


content      of the products                 that     Plaintiff      can offer         to consumers,                which,        in turn,        causes       further


reductions        in revenue.              Moreover,         the reduction          in revenues             siphoned          away      from       Plaintiff      went


directly     into Google           coffers.lo

           102.          The      successful          transition        from     print     media       to online            media      is necessary            for the


survival       of newspapers                 Fair     competition         on the merits             in the digital            advertising          market        is not


possible       given     the market           power       exercised       by Google.              As a result,         newspapers           are attempting           to


adapt by placing            content         behind       a paywall       with     access only         through          a digital      subscription.             This is


an insufficient            revenue         replacement            resulting      in increased         costs to the consumer                       which,       in turn,


results    in fewer         readers.          Fewer        readers      result     in diminished              digital        advertising          revenue        in the


search engine           marketplace.                Google's        dominance          of the digital          advertising           marketplace           threatens


the extinction           of local      news journalism                across the country              and has resulted                in harm        to Plaintiffs


commercial          interests,        the decimation                of local      news       sources        giving          rise to news           deserts,      and a


profoundly        negative          effect     on American             democracy           and civic        life.


           103.          Google's            anticompetitive             and     unlawful           conduct           as described           herein        has     also


harmed       Plaintiff's         ability     to effectively          monetize       its original        content.




lo SeeDavid Chavern, Written Statement, Online Platforms and Market Power, Part 1: The Free
and Diverse             Press,      Committee             on the Judiciary               Subcommittee                on Antitrust,           Commercial             and
Administrative             Law,     United          States House         of Representatives                 (June 11, 2019).
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         104.            With    the advent of the internet,                the news industry          underwent     a shift toward         online


and mobile        news          consumption,         and newspapers              have rapidly       evolved      from    providing        content


solely   in print        to offering       digital     access across a range of mediums                       and devices.       In doing       so,


newspapers       have reimagined               the ways in which they report news and distribute                         content. However,


these ma3or shifts in the news industry have allowed for increasing                                             engagement       of emerging

technology        players            at the    expense        of     newspapers         who      had     traditionally      relied     on    news


subscriptions       and print advertisement                  to subsist.


         105.            Google       is the dominant          gateway        for consumers         to access news digitally             and has


positioned      itself     as a monopolistic            intermediary         between newspapers               and their online readers.            In


2011, Google         Search, combined                 with    Google        News,     accounted        for the majority      (approximately


75%) of referral           traffic    to top news sites.           Since January 2017, traffic             from Google Search to news


publisher      sites has risen by more than 25% to approximately                                1.6 billion     visits per week in January

2018.


         106.            Google       relies    and depends          upon        the original     content      created    and published         by


newspapers       and benefits           significantly        by this content.         By way       of example:


         a)              Google       News was founded               in 2002 and was officially                released in January           2006,


                     with        the goal to "encourage               readers to get a broader                perspective     by reading        ten


                         articles     instead of one."             Google    News      was one of the first products                 that Google


                     launched          beyond        its core search engine product,               implying      the significance        of news


                     to Google even in the early stage of the company.                               Google News collects news               from


                     various          sources including             newspapers        and provides         an aggregated       view      of news


                     from        around the world.             At its inception,         Google        News was crawling             information


                     from         4,000       news    sources       worldwide.          The number            had grown      significantly         to

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                   50,000      news     sources       by 2012.        As of May          2018,   Google       News       had approximately


                   150     million      unique        monthly       visitors     in the United          States,    surpassing             top    news


                   publisher         sites such as The New              York      Times     (70 million).         Google          News      and the


                   distribution        of    news      content        on Google's          platfomis        has provided                tremendous


                   financial      benefits       to Google.           In 2008,       Google       estimated       that     Google          News,        a


                   productwithoutads,broughtin$100millioninyearlyrevenue.                                                 A20l9economic


                   study       conducted         by    the     News      Media       Alliance         concluded          that     news       content


                   generated         approximately           $4.7 billion       for Google       in annual revenue.


                   Original       news content          from     newspapers         also provides          significant          value    to Google


                   by enabling         Google         Search to drive          greater    user engagement.               News      content       from


                   newspapers          not only        contributes       to Google         Search's     freshness         and quality           of the


                   search       results,     but      also    helps     inform      the     emerging          keywords           that     were     not


                   previously         searched      on Google.         As new search queries               continue       to emerge,         Google


                   continuously         improves        its Google       Search to return           fresher    and more relevant                search


                   results     in response         to the trending       queries.    News        content      plays an irreplaceable              role


                   in informing         improvement            areas for Google           Search,     which     ultimately         helps Google


                   build     trust in its products           from users and thus keep users within                    Google's           ecosystem


                   of products.         Indeed,       according       to a study         conducted      by the News             Media      Alliance,


                   approximately            40%       of clicks       on "Trending           Queries"         and 16o/o on high-volume


                   queries      in Google        Search are news content.


                    Google      extracts,     mines,         and captures        unique      user data and information                     of online


                   readers of newspapers'                content,      which     it then uses to offer targeted                 and directed       ads




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                    to the newspapers'          online readers and customers,                 thereby     directly    competing        with


                    newspapers         for digital   advertising.


         107.       As a result of Google's            monopoly          in the digital     advertising     market      and its actions


described      herein,   Google      has significantly      monetized         the content produced            by newspapers        while


impeding       newspapers'     ability    to effectively     monetize        their own original         content and/or effectively


excluding      newspapers       from     the digital     advertising        market.       Google's      practice     of appropriating


content from newspapers              impedes rivals and deters innovation,                 as it removes        any incentive     for the


newspapers       to continue      to develop     their product       (the delivery         of news and information             in an up-


to-datefactualmanner),thereforeharmingcompetition.                              Atbottom,Googleisdrivingnewspapers'


customers to itself, using the newspapers'                 investment,       without      incurring     the costs necessary to gain


those customers.         This strategy harms competition                 rather than benefitting           consumers.


         108.       Google's      monopoly       power in the digital           advertising      market      creates a fundamental


bargaining      power imbalance          between newspapers              and Google that has prevented               newspapers        from


being   able to effectively          bargain    for fair compensation            for the utilization         and/or     distribution      of


their original     content    and/or has otherwise           forced newspapers             to accept less-favorable            terms for


the inclusion     of news on Google's           platforms      and the distribution           of their content than they would

otherwise      agree,


                             Count     II: Section     l of the Sherman            Act: 15 U.S.C.          §1
                          Google       and Facebook          Conspired         in Restraint       of Trade


         109.       Section     I of the Sherman            Act     outlaws     "[e]very       contract,     combination                  or



conspiracy,inrestraintoftradeorcommerce."                         15U.S.C.§1.             Althoughthisprohibitionisliterally


all-encompassing,        the courts have construed            it as precluding         only those contracts           or combinations




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which "unreasonably"                    restrain        competition.          N. Pac. Ry. Co. v. United                States, 356 U.S. 1, 5 (1958);


accord        Leegin        Creative         Leather      Prods. v. PSKS,              Inc., 551 U.S. 877, 885 (2007).


              110.          Restraints         subject         to this prohibition            are generally         categorized        as "horizontal"            or


"vertical."           Horizontal             restraints          are    imposed          by     agreements          between          actual      or    potential


"competitors            on the way in which                    they will     compete          with one another."              NCAA     v. Bd. of Regents,


468 U.S. 85, 99 (1984);                      accord Rothery             Storage        & Van Co. v. Atlas Van Lines,                  Inc., 792 F.2d 210,


229 (D.C.            Cir.    1986)      (Bork,         J.).     To determine            whether        a challenged       agreement           is a horizontal


restraint,      a court       should         evaluate         whether      the agreement           (a) is among        participants           who are "either


actual    or potential          rivals        at the time         the agreement            is made,"       and (b) "eliminates              some avenue            of


rivalry       among          them."          Phillip          E. Areeda       (late)     & Herbert         Hovenkamp,            ANTITRUST            LAW:       AN


ANALYSIS             OF ANTITRUST               PRINCIPLES AND THEIR APPLICATION                                ("ANTITRUST            LAW")          ? 1901bl;

accord,        e.g., Rothery          Storage          & Van, 792 F.2d at 229 ("All                    horizontal      restraints.          . eliminate      some


degree of rivalry             between          persons         or firms      who are actual or potential               competitors.").            "Horizontal


 agreements                  as a class provoke                  harder    looks       than any other         arrangement"            because "they             pose


the most significant dangers of competitive harm." ANTITRUSTLAW %1902a.

              111.          Concerted           action         may     be adequately            alleged-and           later    proved-either              through


direct    or indirect         evidence.         See Monsanto               Co. v. Spray-Rite            Serv. Corp.,          465 U.S. 752, 764 (1984).


 On information              and belief,         Plaintiff        believes     that direct        evidence     exists that Google               and Facebook


unlawfully            entered         into     an agreement(s)                to unreasonably              restrain     trade.        The      details     of    the


 agreement           are currently            under      seal in the complaint                 filed    in the AGs       v. Google            case.    The Wall


Street Journal              reported         some of the redacted               details,       including      a September            2018     arrangement          in


 which        Facebook         and Google               agreed         that Facebook           would      get special         treatment       and the parties


 would        share information               in the event of an antitrust                 lawsuit.      Google       reportedly       referred       to the deal

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as "Jedi       Blue,"     a nod to Star Wars.                Facebook       COO       Sheryl       Sandberg      signed     the agreement,                the


Wall      Street    Journal        reported,       calling      it a"big       deal     strategically"          in an email        to CEO           Mark


Zuckerberg.


            112.         Section     1 encompasses            two different       analyses         for determining        whether            a particular


restraint      is illegal:     per se violations        and the "rule          of reason."


            113.         The "per       se rule"      recognizes        that     some       types    of restraints        are illegal          in and of


themselves          "because        of their       actual     or potential        threat     to the      central     nervous        system         of the


economy."           United      States v. Socony-Vacuum                    Oil Co., 310 U.S. 150, 224 n.59 (1940).                             Examples


of per se illegal         restraints    include      agreements         among      actual or potential             competitors         to:     fix prices,


    ., Catalano,         Inc. v. Target        Sales, Inc., 446 U.S. 643, 647 (1980);                       rig bids,     e.g., United           States v.


Koppers        Co., 652 F.2d 290, 294 (2d Cir. 1981);                       or divide       or allocate     markets,.,             Palmer         v. BRG


of Ga., Inc., 498 U.S. 46, 49-50                    (1990).


            114.        "The     per se rule,       treating      categories      of restraints         as necessarily         illegal,       eliminates


the need to study the reasonableness                         of an individual         restraint      in light    of the real market              forces     at


work."         Leegin        Creative    Leather       Prods.,     551 U.S.        at 886.          It condemns         a category           of conduct


without       an "elaborate         inquiry      as to the precise         harm       [agreements        or practices]         have caused or the


business       excuse        for their use."       N. Pac. Ry.,       356 U.S. at 5 (explaining                  that the per se rule "avoids


the necessity           for an incredibly          complicated       and prolonged             economic         investigation          into the entire


history      of the industry         involved").


             115.        Plaintiffalleges,asdescribedsupra,thatGoogleandFacebookengagedinperse


violations         of Section       I by entering        into    a quid-pro-quo             scheme       wherein      Facebook          agreed      not to


challenge          Google's        advertising       business       in return         for   very     special       treatment      in      Google's          ad


auctions.

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              116.         Theeliminationoftherivalrybetweenthetwoleviathansofthedigitaladvertising


market         directly         resulted      in the strangulation                  of the market            to the detriment                 of the newspaper


industry        and Plaintiff            in particular,       and eviscerated               competition           on the merits.


                                                       Count III: Uniust Enrichment
                                                     Google Has Been Uniustly Enriched

              117.         The      original      news        content        created        by Plaintiff          and other        newspapers             across   the


country provides a significant benefit to Google as detailed above, including 77 100-108. In a

2019        economic            study,     the News        Media      Alliance          found     that news          content       generated           an estimated


$4.7 billion            in annual          revenue       for Google           in 2019.          Plaintiffs         original       content       further      benefits


Google,         inter     alia,    by improving            Google's           search results           and algorithms             thereby       creating      trust in


its products;             causing        users to stay longer               within         Google's      ecosystem            of products;            and enabling


Google         to extract         user data and information                   which        it utilizes     to deliver         targeted        ads.


              118.          Despite        the benefits            conferred         upon      Google        by     Plaintiff,       Google           does not     pay


Plaintiff       or other newspapers                fortheir        original         content    or share with          Plaintiff      the profits        it generates


from        Plaintiff's         original       content.        This        result     is intended        by       Google         and has been             caused    by


Google's         unlawful          and tortious          conduct       described           herein.


              119.         Plaintiffhasincurredsubstantialcosts;hiredjournalists;paidforinfrastructure;and


invested        time,      money,          and resources           to create its content.


              120.          Despite        benefitting        from     Plaintiff's          content,     Google        maintains         no responsibility           or


liability        for      the     accuracy       or      quality      of     Plaintiff's        content,          whereas         Plaintiff          maintains     full


responsibility             and liability.


              121.          GooglehasknowinglyacceptedthebenefitsconferreduponitbyPlaintifftowhich


it is not entitled              and has been unjustly                enriched         by its monopolistic              and unlawful             practices.



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          122.           Google's        acceptance        and retention             of these benefits         under        these circumstances              is


unjust   and inequitable.


          123.           AsamatterofequityandGeorgiacommonlaw,Googleshouldbedisgorgedofall


unjust   eichment               and Plaintiff       should     be made whole              by the application               of the doctrine         of unjust


enrichment.


                                                                         PRAYER


          WHEREFORE,                      Plaintiff       requests        the     Court     to     enter    judgment            in   its   favor     against


Defendants,         jointly      and severally,         awarding         all such relief         as the Court       deems appropriate              and just,


including:


                         That the Court          enter an order declaring                 that Defendants'            actions,       as alleged      herein,
                         violate     the law;


                         That the Court           award      Plaintiff     damages,         treble    damages,         punitive       damages,          and/or
                         restitution      in an amount          to be determined             at trial;


                         That      the    Court        permanently              enjoin     Defendants,             their     affiliates,       successors,
                         transferees,      assignees,         and other officers,            directors,       agents,       and employees            thereof
                         from      continuing,         maintaining,         or renewing            the conduct         alleged       herein,       and from
                         adopting        or following           any practice,            plan,    program,         or device         having        a similar
                         purpose       or effect;


                         That the Court           award      Plaintiff     pre- and post-judgment                   interest;


                         That the Court          award     Plaintiff       its costs of suit, including               reasonable           attorneys'     fees
                         and expenses;           and


                         That the Court           award      any and all such other relief                  as it may deem proper.


                                                                JURY        DEMAND


             Plaintiff     demands        a trial by jury        on all iSSues so triable                herein.


             DATED:           October26,2021



                                                                          Respectfully           Submitted,

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                                           *Applications        for Pro Hac       Vice to be submitted




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                                         CERTIFICATE             OF SERVICE


          This    is to certify   that I have   on this   26th   day of October,       2021,    electronically     filed   the
foregoing      with   the Clerk   of Court   using   the CM/ECF       system   which    will   send notification    of such
filing   to the attorneys    who have appeared        in this case:



                                                                  /s/MichaelE.         Sumner
                                                                   OF COUNSEL




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